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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                              CA SE l7-20275-CR -UNGARQ


 UN ITED STATES OF AMERICA ,



 VS .
                   Plaintiff,                           p wL-orô
                                                            ORD ER

  KEV IN C . FUSCO ,

                  Defendant .

         THIS CAUSE came before the Court for Calendar Call on May l0,

  2017,    in the interest of justice and based on the
  representations made by counsel ,                is

        ORDERED AND ADJUDGED that the case is continued for trial to the
 two -week period beginn ing MAY 24 , 2017 This case is specially set .
                                              Xo
 Calendar Call will be held on MAY -1*T 2017 at 1100 p.m. The Court
 further     finds      that   the   period   of    delay    resulting   from   this

 continuance, to-wit:tthe date of the Cal. Calllto and including the
 date     trial    is   commenced , shall be        deemed     excludable   time   in

 accordance w ith the prov isions of the Speedy Trial Act , 18 U .S .C .,

  5 3161 etseg . All exhibits must be pre-marked and the exhibit list

  shall be furnished to the Court along with each parties proposed

 voir dire questions and proposed jury instructions TEN DAYS before
  the date of trial .

         All motions filed shall be accompanied by a written statement

  certifying that counsel for the moving party has conferred with

  opposing counsel in a good faith effort to resolve by agreement
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 the subject matter of the motion.
       If either side intends to seek the adm ission of tapes and

 transcripts at trial , final revisions to the transcripts must be

 completed and provided to the opposing party not later than 15 days

prior to jury selection in this case. The Court will not admit
 transcripts which have been revised subsequent to this deadline .
                                                              +

      DONE AND ORDERED at Miami, Florida this            /Z          day of
May , 2017 .




                                            URSULA UNGARO
                                            UNITED STATES DIS     ICT JUDGE




cc : Counsel of record
